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                                                                               O,U.S. DISTRICT COURT
                                                                                 STRICT OF VERMONT
                                                                                       fiLED
                             UNITED STATES DISTRICT COURT                     2016 JUH 14 PH 1,: 28
                                       FOR THE
                                 DISTRICT OF VERMONT                                  CLERK
                                                                              BY      LAW
                                                                                   DEPUTY CLERK -
ALICE H. ALLEN, LAURANCE E. ALLEN,                           )
d/b/a Al-lens Farm, GARRET SITTS, RALPH                      )
SITTS, JONATHAN HAAR, CLAUDIA HAAR,                          )
RICHARD SWANTAK, PETER SOUTHWAY,                             )
MARILYN SOUTHWAY, REYNARD HUNT,                              )
ROBERT FULPER, STEPHEN H. TAYLOR,                            )
and DARREL J. AUBERTINE, on behalf of                        )
themselves and all others similarly situated,                )
                                                             )
                        Plaintiffs,                          )
                                                             )
                 v.                                          )    CaseNo. 5:09-cv-230
                                                             )
DAIRY FARMERS OF AMERICA, INC. and                           )
DAIRY MARKETING SERVICES, LLC,                               )
                                                             )
                        Defendants.                          )

  OPINION AND ORDER GRANTING IN PART AND DENYING IN PART
MOTIONS FOR ATTORNEYS' FEES AND COSTS, AND INCENTIVE AWARDS
                       (Docs. 728 & 729)
         Pending before the court are Dairy Farmer Subclasses' Motion for A ward of
Attorneys' Fees, Reimbursement of Expenses, and Incentive Awards for Subclass
Representatives in Connection with the DFA/DMS 2015 Settlement (Doc. 728) ("Lead
Counsel" proposal), and Additional Named Representatives Stephen H. Taylor and
Darrel J. Aubertine's Alternative Motion for Award of Overall Attorneys' Fees, for
Incentive Award and Division of Such Fees Among Class Counsel (Doc. 729)
("Intervenor Counsel" proposal).
         Lead Counsel seeks attorneys' fees in the amount of $16,666,666, reimbursement .
of$3,804,337.68 in expenses, and an incentive award of$130,000 for distribution to the
nine Subclass Representative farms. 1 Intervenor Counsel seeks an attorneys' fees award

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    Lead Counsel proposes that the initially appointed Subclass Representative farms (Allen, Haar,
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totaling $11,500,000, with $500,000 designated for payment to Intervenor Counsel.
Intervenor Counsel also seeks reimbursement of their expenses in the amount of
$6,294.18 and incentive awards for Subclass Representatives Aubertine and Taylor of
$20,000 each. On May 13, 2016, the court held a Fairness Hearing to consider whether
to approve the December 20 15 Settlement, at which time the court took the pending
motions under advisement.
       The attorneys participating in Lead Counsel's motion are Robert G. Abrams, Esq.,
Robert J. Brookhiser, Esq., Gregory J. Commins, Jr., Esq., Terry L. Sullivan, Esq.,
Danyll W. Foix, Esq., Emily J. Joselson, Esq., Lisa B. Shelkrot, Esq., Kit A. Pierson,
Esq., Benjamin D. Brown, Esq., Brent W. Johnson, Esq., Emmy L. Levens, Esq., David
A. Balto, Esq., and Andrew D. Manitsky, Esq. The attorneys participating in Intervenor
Counsel's motion are Daniel Smith, Esq., and RichardT. Cassidy, Esq.
I.     Factual and Procedural Background.
       This class action arises out of Plaintiffs' allegations that Defendants Dairy
Farmers of America, Inc. ("DFA"), Dairy Marketing Services, LLC ("DMS"), Dean
Foods Company ("Dean"), and other named and unnamed co-conspirators conspired to
control the supply of raw Grade A milk in Order 1, which had the effect of suppressing
certain premiums paid to dairy farmers for their milk.
       On August 3, 2011, the court granted final approval of a settlement between
Plaintiffs and Dean, requiring Dean to make a one-time payment of $30,000,000 (the
"Dean Settlement"). The court awarded attorneys' fees of $4,500,000, reflecting fifteen
percent of the Dean Settlement, and reimbursement of $1,500,000 in expenses. The total
award to Plaintiffs' attorneys was therefore twenty percent of the Dean Settlement. The
court declined to grant any incentive payments to class representatives at that time,
explaining that the notice sent to class members did not disclose these proposed payments
and thus "[a]dditional compensation for their efforts must await further developments in
this case, and must be accompanied by full and accurate notice of any deduction from the

Sitts, and Swantak) receive $20,000 each, and the farms added as Subclass Representatives
within the past year (Aubertine, Fulper, Hunt, Southway, and Taylor) receive $10,000 each.

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class's recovery." (Doc. 341 at 19.)
          On November 19, 2012, the court certified a class consisting of all dairy farmers,
whether individuals, entities, or members of cooperatives, who produced and pooled raw
Grade A milk in Order 1 during any time from January 1, 2002 to the present (the "Dairy
Farmers Class"). This class is comprised of two Subclasses? At the time of class
certification, the court approved Plaintiffs' request that Claudia and Jonathan Haar and
Richard Swantak be named representatives of the DFA/DMS Subclass, and that Alice H.
and Laurance E. Allen and Garrett and Ralph Sitts be named representatives of the non-
DF A/DMS Subclass.
          After an adjudication of Defendants' motion for summary judgment, which the
court granted in part and denied in part, the parties reached a settlement agreement on
July 1, 2014 (the "2014 Settlement"). The court subsequently denied without prejudice
the motion for final approval of the 20 14 Settlement.
          During communications regarding the 2014 Settlement, the relationship between
Lead Counsel and certain Subclass Representatives eroded. Those Subclass
Representatives subsequently moved to remove Lead Counsel. The court denied the
motion, concluding "removal of class counsel at this late stage in the proceedings and in
this complicated case would constitute an extraordinary remedy reserved for actual
misconduct for which no alternative remedy is either feasible or prudent." (Doc. 667 at
8.)
          While the motion to remove Lead Counsel was pending, Stephen H. Taylor and

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    The certified Subclasses are as follows:
          1. All dairy farmers, whether individuals or entities, who produced and pooled
             raw Grade A milk in Order 1 during any time from January 1, 2002 to the
             present, who are members of DFA or otherwise sell milk through DMS
             ("DF A/DMS [S]ubclass"); and
          2. All dairy farmers, whether individuals or entities, who produced and pooled
             raw Grade A milk in Order 1 during any time from January 1, 2002 to the
             present, who are not members ofDFA and do not otherwise sell milk through
             DMS ("non-DF A/DMS [S]ubclass").
(Doc. 435 at 3-4).


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Darrel J. Aubertine moved to intervene and be joined as additional Subclass
Representatives for the non-DF A/DMS Subclass. They also sought the addition of their
attorneys, Daniel Smith, Esq., and RichardT. Cassidy, Esq., as Subclass Counsel for the
non-DFA/DMS Subclass. On August 11, 2015, the court granted the motion to intervene,
noting that:
         At this juncture, the opposing Subclass Representatives and Subclass
         Counsel are failing to present a united front on behalf of the Dairy Farmer
         Subclasses and, in this respect, are undermining the interests of absent class
         members. As the case progresses towards either trial or to a final
         settlement, the stalemate and the lack of communication between Subclass
         Counsel and all but two of the Subclass Representatives is and will
         continue to be unacceptable. Without a significant change in
         circumstances, removal of either Subclass Representatives or Subclass
         Counsel or both may be warranted.
(Doc. 682 at 8.) The court initially denied the request to add additional attorneys because
their addition would increase the attorneys' fees and costs and "would effectively force
Subclass Counsel to work with new attorneys at the court's direction." ld. at 14. When
the stalemate between opposing Subclass Representatives and Lead Counsel persisted,
the court granted the appointment of Attorneys Smith and Cassidy as additional counsel
("Intervenor Counsel"). 3
          On September 24, 2015, Lead Counsel moved to add Marilyn and Peter Southway,
Reynard Hunt, and Robert Fulper as DF A/DMS Subclass Representatives, and to remove
the previously appointed DFA/DMS Subclass Representatives. On October 23, 2015, the


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    The court explained:
         The non-DF A/DMS Farmer Subclass has withdrawn its opposition to the
         appointment of Daniel Smith, Esq. and RichardT. Cassidy, Esq. as additional
         Subclass Counsel as long as they are appointed as full-time, ordinary Subclass
         Counsel and not simply limited to the role of settlement counsel[.] In their reply,
         Attorneys Smith and Cassidy acknowledge that they will shar[ e] the same
         responsibilities and obligations as existing Subclass Counsel. For the same
         reasons that the court appointed additional Subclass Representatives, the court
         concludes that the appointment of additional Subclass Counsel is in the best
         interests ofthe class.
(Doc. 700) (citation omitted).


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court granted the motion to add Subclass Representatives, but denied the motion to
remove the previously appointed Subclass Representatives. The court explained that the
existing Subclass Representatives "adequately represent the DF A/DMS Subclass and
remain committed to vigorously pursuing its interests" and their removal would eliminate
dissenting opinions that may be important to the adequate representation of the class.
(Doc. 707 at 7.)
         The parties thereafter continued negotiations that resulted in the December 20 15
Settlement. On May 13, 2016, the court held a Fairness Hearing at which members of the
Dairy Farmers Class overwhelmingly supported the settlement. On June 7, 2016, the
court granted final approval of the December 20 15 Settlement. 4
         Lead Counsel and Intervenor Counsel (collectively, "Plaintiffs' counsel") now
seek attorneys' fees and expenses. In support of their pending motions, Plaintiffs'
counsel submit affidavits identifying the amount of hours that attorneys and other legal
professionals devoted to this case, as well as the hourly rates those individuals typically
charge for their services. In total, Plaintiffs' counsel expended approximately 64,000




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    The December 2015 Settlement addresses attorneys' fees and expenses as follows:
         [I.] Subclass Counsel may apply to the Court for payment of attorneys' fees,
         costs, and expenses from the Settlement Fund. Attorneys' fees and expenses will
         be determined and awarded from the Settlement Fund in a manner consistent with
         Second Circuit law following the application for such fees and expenses by
         Subclass Counsel. Settling Defendants will have no responsibility to pay
         Subclass Counsel's attorneys' fees, costs, or expenses. Under no condition will
         Subclass Counsel seek an amount of attorneys' fees in excess of 33 1/3% of the
         Settlement Consideration [of $50,000,000] plus reimbursement for reasonable
         litigation and administrative expenses.
         [2.] Settling Defendants will not oppose an application for attorneys' fees or
         expenses submitted by Subclass Counsel consistent with the limitation described
         in [the preceding paragraph].
         [3.] In the event the Court disapproves of, or reduces the amount sought in, any
         such application, such disapproval or reduction shall have no effect on the terms
         of the Agreement.
(Doc. 2076-2 at 40-41.)


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hours, reflecting more than $28.7 million in fees, exclusive of costs, on this case. 5 The
records they submit in support of their request identify general categories of tasks, such
as "Investigations, Factual & Legal Research[,]" "Discovery, Document Management
and Depositions[,]" and "Case Management and Administration[.]" See Doc. 728-2 at 2.
These general categories do not reveal how much time was expended on discrete tasks,
such as filing an opposition to a motion for summary judgment or filing a motion to
replace certain Subclass Representatives.
       Plaintiffs' counsel have also incurred unreimbursed costs in the amount of
$3,81 0,631.86. Lead Counsel summarizes their expenses as follows:
       Obtaining, reviewing, and hosting documents; preparing, taking, and
       defending depositions; hiring stenographers and videographers for
       depositions; performing computerized legal research; making copies and
       deliveries; preparing pleadings (motions, memoranda, etc.) filed with the
       Court; preparing for hearings; expert witness fees and costs[;] ... preparing
       for trial (reviewing and organizing video deposition testimony, preparing
       witness examinations, selecting exhibits, preparing demonstratives, etc.);
       and traveling to depositions, hearings, and meetings with clients, experts,
       and potential witnesses.
(Doc. 728 at 27-28.) Intervenor Counsel's expenses arise solely from travel and lodging
related to this case.
II.    Conclusions of Law and Analysis.
       A.      Whether to Grant Lead Counsel's Proposal for Attorneys' Fees or
               Intervenor Counsel's Proposal for Attorneys' Fees.
       Lead Counsel seeks attorneys' fees in the amount of$16,666,666, or 33.3% of the
monetary recovery under the December 20 15 Settlement. Intervenor Counsel proposes
an alternative award of$11,500,000, which reflects 23% of the monetary recovery. For
the reasons set forth below, the court determines that an attorneys' fees award comprising
14% of the December 2015 Settlement ($7,000,000), without accrued interest, is
reasonable.
       "In a certified class action, the court may award reasonable attorney's fees[.]"

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 $28,790,531 reflects Lead Counsel's fees of$28,575,341, and Intervenor Counsel's fees of
$215,190.


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Fed. R. Civ. P. 23(h). It is "well established that the common fund doctrine permits
attorneys whose work created a common fund for the benefit of a group of plaintiffs to
receive reasonable attorneys' fees from the fund" and that "[c]lass action lawsuits are the
prototypical example of instances where the common fund doctrine can apply." Victor v.
Argent Classic Convertible Arbitrage Fund L.P., 623 F.3d 82, 86 (2d Cir. 2010).
Approval of a reasonable fee in common fund cases is "often challenging ... especially
because-since the attorneys' fees are drawn from a common fund rather than being paid
separately by the defendants-there is little incentive for the defendants to contest the
size of the fee. To the contrary, plaintiffs' and defendants' lawyers share an interest in
the approval of an agreed upon settlement." McDaniel v. Cty. of Schenectady, 595 F.3d
411,418 (2d Cir. 2010). For this reason, the district court has a "duty to act as a
fiduciary who must serve as a guardian of the rights of absent class members, and [to]
reaffirm the requirement of a searching assessment regarding attorneys' fees that should
properly be performed in each case." !d. at 419 (citations and internal quotation marks
omitted).
       "[E]ither the lodestar or percentage of the recovery methods may properly be used
to calculate fees in common fund cases[.]" Goldberger v. Integrated Res., Inc., 209 F.3d
43, 45 (2d Cir. 2000). "[T]he trend in [the Second] Circuit is toward the percentage
method[.]" McDaniel, 595 F.3d at 417 (internal quotation marks omitted). Pursuant to
the percentage method, the court "sets some percentage of the recovery as a fee."
Goldberger, 209 F.3d at 47. That "fee award should be assessed based on scrutiny of the
unique circumstances of each case, and a jealous regard to the rights of those who are
interested in the fund." !d. at 53 (internal quotation marks omitted).
       Although courts in the Second Circuit most often use the percentage method, the
lodestar may nonetheless serve "as a 'cross check' on the reasonableness of the requested
percentage." Goldberger, 209 F.3d at 50. The lodestar method "scrutinizes the fee
petition to ascertain the number of hours reasonably billed to the class and then multiplies




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that figure by an appropriate hourly rate." !d. at 47. 6
          "[W]hether calculated pursuant to the lodestar or the percentage method, the fees
awarded in common fund cases may not exceed what is 'reasonable' under the
circumstances[.]" Goldberger, 209 F.3d at 47. "What constitutes a reasonable fee is
properly committed to the sound discretion ofthe district court[.]" !d. District courts
must consider: "(1) the time and labor expended by counsel; (2) the magnitude and
complexities of the litigation; (3) the risk of the litigation; (4) the quality of
representation; (5) the requested fee in relation to the settlement; and (6) public policy
considerations." !d. at 50 (alterations and internal quotation marks omitted).
                  1.     Time and Labor Expended by Counsel.
          Plaintiffs' counsel estimate they expended approximately 64,000 hours on this
case, amounting to $28,790,531 in fees. 7 The problem with this estimate is threefold.
First, some of the 64,000 hours gave rise to the Dean Settlement. At the time of the Dean
Settlement, Lead Counsel represented that it had completed "over 31,000 hours of legal
work." (Doc. 310-1 at 17.) The court has already awarded attorneys' fees to compensate

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    As to the appropriate hourly rate to apply, the Second Circuit has held:
          [W]hen faced with a request for an award of higher out-of-district rates, a district
          court must first apply a presumption in favor of application of the forum rule. In
          order to overcome that presumption, a litigant must persuasively establish that a
          reasonable client would have selected out-of-district counsel because doing so
          would likely (not just possibly) produce a substantially better net result.
Simmons v. New York City Transit Auth., 575 F.3d 170, 175 (2d Cir. 2009).
7
  Out-of-district hourly rates apply in this instance because Plaintiffs' out-of-district counsel
possess significant antitrust expertise not readily available in this district, and it was reasonable
for Plaintiffs to believe they would achieve a "substantially better net result" with their services.
See Simmons, 575 F.3d at 175. Nonetheless, some rates claimed by Lead Counsel are excessive.
See Shane Grp., Inc. v. Blue Cross Blue Shield of Mich., 2016 WL 3163073, at *7 (6th Cir. June
7, 2016) (concluding that the district court's reliance on the lodestar method was erroneous and
noting that "[ o ]ne problem is that the rates claimed by class counsel are exceedingly high: some
20 lawyers billed the class more than $700 per hour, and some billed more than $900 per hour;
and over 40 paralegals charged an average of $228 per hour, which is more than $10 per hour
higher than the rates charged by the top 1% of paralegals nationwide"). Ten Lead Counsel
attorneys billed the class more than $700 per hour, fourteen current and former paralegals
charged between $220 and $279 per hour, and legal assistants charged as much as $300 per hour.
See Doc. 728-8 at 2, Doc. 728-14 at 2, Doc. 728-17 at 2.


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the time expended in pursuing the Dean Settlement.
       Second, the estimate includes time that Lead Counsel spent addressing the
communication breakdown with Subclass Representatives. Intervenor Counsel ask the
court to consider Lead Counsel's "responsibility for the breakdown in
communications[,]" and "propose that the majority of the time spent on this issue be
accounted for, and removed, as part ofthe lodestar cross-check." (Doc. 729-1 at 8)
(internal quotation marks omitted). The court agrees that the attorneys' fees award
should reflect that some of the fees expended on this issue could have been avoided by a
more cooperative relationship between Lead Counsel and Subclass Representatives.
       Third, Plaintiffs' counsel aggregate their hours expended into broad categories of
tasks. Consequently, the court cannot "scrutinize[] the fee petition to ascertain the
number of hours reasonably billed to the class[.]" See Goldberger, 209 F.3d at 47; see
also Shane Grp., Inc. v. Blue Cross Blue Shield of Mich., 2016 WL 3163073, at *8 (6th
Cir. June 7, 2016) (holding that the district court erroneously approved class counsel's
request for $10 million in fees, and observing that "class counsel provided no backup
whatsoever-no time records, no descriptions of work done-in support of their hours
spent working on this case ... class counsel [instead] provided the district court with a
single page of documentation for each firm, listing only the employee names, titles, rates,
hours, and-by multiplying the rates and hours-the total lodestar for that firm").
       For the foregoing reasons, Plaintiffs' lodestar does not provide a reliable cross
check for a reasonable attorneys' fees award. It nonetheless provides factual support for
Plaintiffs' counsel's claim that they expended substantial time and effort on this class
action case.
               2.    Magnitude and Complexities of the Litigation.
       Lead Counsel argues that the complexity of this antitrust case is heightened
because counsel did not benefit from a simultaneous or preceding government action.
See, e.g., Wal-Mart Stores, Inc. v. Visa US.A., Inc., 396 F.3d 96, 122 (2d Cir. 2005), cert.
denied, 544 U.S. 1044 (affirming attorneys' fees award and observing that "antitrust
cases, by their nature, are highly complex"); In re Visa Check/Mastermoney Antitrust


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Litig., 297 F. Supp. 2d 503, 523 (E.D.N.Y. 2003) (noting that the case was more
challenging to litigate because counsel "did not benefit from any previous or
simultaneous government litigation"). To some extent, however, the Southeastern Milk
Antitrust Litigation afforded Plaintiffs' counsel substantive and strategic benefits because
"[a]s a result of ... extensive discovery and both side's substantial experience with the
Southeastern Milk Antitrust Litigation, counsel for the Subclasses and Defendants
approached trial with a deep understanding of the complex factual, economic, and legal
issues presented by the case." (Doc. 2076-1 at 13.)
               3.      Risk of the Litigation.
       Lead Counsel argues that it encountered significant contingency and litigation
risks, and should be rewarded for those risks. 8 Lead counsel further argues that "[t]he
risk of litigation is 'perhaps the foremost factor' when considering fees[.]" (Doc. 728 at
22) (quoting In re Elan Sec. Litig., 385 F. Supp. 2d 363, 374 (S.D.N.Y. 2005)). The
Second Circuit has held that "[a] court, ... in adjudging whether to award a risk
multiplier, should examine closely the nature of the action in order to determine whether,
as a matter of public policy, it is the type of case worthy of judicial encouragement." In
reAgent Orange Prod. Liab. Litig., 818 F .2d 226, 236 (2d Cir. 1987).
       Although Lead Counsel is correct that the pursuit of this class action was a
substantial burden that involved many complex factual and legal issues, the risk in this
case arises primarily from Plaintiffs' difficulty in establishing liability and damages.
Moreover, while class action litigation may assist in ensuring compliance with federal
antitrust laws, the December 2015 Settlement advances those goals indirectly. See, e.g.,
Pillsbury Co. v. Conboy, 459 U.S. 248, 262-63 (1983) ("This Court has emphasized the
importance of the private action as a means of furthering the policy goals of certain
federal regulatory statutes, including the federal antitrust laws."). Defendants have
neither admitted any wrongdoing, nor been found to have committed any antitrust

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  Intervenor Counsel, in contrast, did not assume a substantial risk for purposes of the
Goldberger analysis when it joined the lawsuit during the last year. See Goldberger v.
Integrated Res., Inc., 209 F.3d 43, 55 (2d Cir. 2000) ("It is well-established that litigation risk
must be measured as of when the case is filed.").


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violations. Whether "as a matter of public policy, [this case] is the type of case worthy of
judicial encouragement" therefore remains unclear. See In reAgent Orange, 818 F .2d at
236.
               4.       Quality of Representation.
        Despite Intervenor Counsel's identification of certain concerns with the quality of
Lead Counsel's representation, 9 "the quality of representation is best measured by results,
and ... such results may be calculated by comparing the extent of possible recovery with
the amount of actual verdict or settlement." Goldberger, 209 F .3d at 55 (internal
quotation marks omitted). Intervenor Counsel characterizes the net monetary settlement
of $80,000,000 as a "small" recovery in comparison to the damages alleged in the initial
Complaint. (Doc. 729-1 at 11.) Lead Counsel counters that "[t]he total $80 million
represents almost 60% of the maximum single damages within the statute of limitations
period and accounting for the [c]ourt's exclusion of certain damages." (Doc. 728 at 16.)
       As any damages calculation in this case is subject to significant statute of
limitations and other challenges, it provides an unreliable benchmark. 10 In comparison to
the settlement in Southeastern Milk Antitrust Litigation, in which the evidence of alleged
antitrust violations was arguably stronger and the statute of limitations issues were less
daunting, the monetary recovery in the instant case is modest, but the injunctive relief is
significantly broader. On balance, this case represents a fair, reasonable, and adequate
recovery for the class, even when compared to the settlement in Southeastern Milk
Antitrust Litigation.

9
 See Doc. 729-1 at 7-8 ("These problematic [case] characteristics are the over-emphasis on
monetary relief, the breakdown in communications between counsel and almost all Named
Representatives, the flawed geographic market definition, the failure to develop Defendant
DMS' role, the early if not outright premature settlement with Dean Foods, and the fact that one
of the subclasses will be funding the settlement fund from which their recovery as well as the
attorneys' fees will be drawn.").
10
  See, e.g., Goldberger, 209 F.3d at 55-56 (where counsel asserted a 90% recovery of class
damages based on an expert report they commissioned, the Second Circuit was "hesitant to
accept that report unquestioningly ... because it ha[ d] not been tested through the adversarial
process[,] ... the valuation of damages in securities class actions is not a 'hard science,' and all
such reports are singularly susceptible to attack").


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                 5.     Requested Fee in Relation to the Settlement.
          Lead Counsel seeks attorneys' fees of$16,666,666, amounting to one-third of the
monetary recovery in the December 2015 Settlement. 11 With the $4,500,000 in
attorneys' fees awarded in the Dean Settlement, attorneys' fees would represent twenty-
six percent of the overall monetary recovery. Intervenor Counsel proposes attorneys'
fees in the amount of $11,500,000, which is twenty-three percent of the current
settlement. 12 When combined with the attorneys' fees obtained in the Dean Settlement,
attorneys' fees would represent twenty percent of the overall monetary recovery.
          The Second Circuit has held that, rather than a '"benchmark[,]"' courts must
engage in a "searching assessment" to determine whether the requested fee is reasonable
in relation to the settlement. Goldberger, 209 F .3d at 52. "While public policy favors the
award of reasonable attorney's fees, courts must also guard against providing a monetary
windfall to class counsel to the detriment of the plaintiff class." In re Currency
Conversion Fee Antitrust Litig., 263 F.R.D. 110, 130 (S.D.N.Y. 2009) (internal quotation
marks omitted). To avoid windfalls in multi-million dollar settlements, the Second
Circuit has observed that courts often reduce fees awards. See Goldberger, 209 F.3d at
52 ("[E]mpirical analyses demonstrate that in cases like this one, with recoveries of
between $50 and $75 million, courts have traditionally accounted for these economies of
scale by awarding fees in the lower range of about 11% to 19%."); Wal-Mart Stores, Inc.,
396 F.3d at 122 (affirming an attorneys' fees award of6.5% ofthe settlement fund and
noting that because "economies of scale could cause windfalls in common fund cases,
courts have traditionally awarded fees for common fund cases in the lower range of what
is reasonable"). 13

11
   When Lead Counsel's proposed attorneys' fees is combined with Plaintiffs' counsel's request
for reimbursement of expenses, the attorney payment from the current settlement would amount
to 41%.
12
  When Intervenor Counsel's proposed attorneys' fees is combined with Plaintiffs' counsel's
request for reimbursement of expenses, the attorney payment from the current settlement would
amount to 30.6%.
13
     See also In re Elan Sec. Litig., 385 F. Supp. 2d 363, 373 (S.D.N.Y. 2005) (awarding 12% of


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       Lead Counsel cites In re Initial Pub. Offering Sec. Litig., 671 F. Supp. 2d 467
(S.D.N.Y. 2009) in support of its position that a one-third recovery of the settlement fund
is authorized in the Second Circuit. In that case, the court granted an attorneys' fees
award of $170 million, which was below the lodestar and reflected one-third of the net
settlement fund. 14 The court emphasized that reducing attorneys' fees would result in
only "trivial" benefits to each class member while penalizing counsel and "chill[ing]
other class actions." !d. at 515.
       In contrast, in this case, numerous class members supporting the December 20 15
Settlement emphasize that because of low milk prices, even a modest additional payment
would afford relief. 15 They also ask the court to ensure that the attorneys are not the
primary beneficiaries of the settlement. 16 As a result, awarding a 14% fee in lieu of the


the $75 million settlement in attorneys' fees, rather than the 20% requested by counsel); In re
Twinlab Corp. Sec. Litig., 187 F. Supp. 2d 80, 87 (E.D.N.Y. 2002) (denying counsel's request
for attorneys' fees amounting to one-third of the $26.5 million settlement, and instead granting a
12% award).
14
  In In re Initial Pub. Offering Sec. Litig., 671 F. Supp. 2d 467, 514 (S.D.N.Y. 2009), the court
reasoned that "there is simply no reason why plaintiffs' counsel should be awarded a percentage
of their expenses in addition to being reimbursed for those reasonable expenses[,]" and it
therefore deducted the administrator's fee, PSLRA payments, and attorneys' expenses to
calculate the "net" settlement fund from which the attorneys' fees award was drawn.
15
   See, e.g., Doc. 1803 at 1 ("In 2016 dairy farmers in the Northeast are once again selling milk
for less than the costs of producing it. Dairy farm families will be grateful for the modest
payments this settlement will deliver."); Doc. 1842 at 1 ("As a dairy farmer who at this time is
receiving a low milk price because of our overproduction to the marketplace, the money would
be greatly appreciated, and used for seed, fertilizer and supplies for me to continue another
year."); Doc. 1846 at 2 ("We hope [the court] will make it possible for the quick disbursement of
settlement funds to each farm family in the North East. The funds are needed with milk prices
dropping."); Doc. 2018 at 1 ("Low milk prices are making it very difficult to continue farming.
The settlement money would be a help."); Doc. 2051 at 1 ("[The settlement] is fair and
financially beneficial to our farm at a time when milk prices are very low.").
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   See, e.g., Doc. 1627 at 2 ("If we were to state an objection to anything in the settlement, it
would be to the outrageous lawyer fees that are proposed .... I think we speak for many farmers
when we say that we don't need another +/-$4000 pittance.") (emphasis omitted); Doc. 2030 at 1
("I would ask that you minimize the percentage that the lawyers retain. This was designed to
help us financially strapped dairy farmers, not the rich lawyers."); Doc. 2060 at 2 ("It is time that
the Allen [v.] Dairy Farmers of America lawsuit is settled. The money should be returned to the
members. After all, the settlement money is their money anyway.").


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one-third fee requested by Lead Counsel will result in a more meaningful recovery per
farm. 17
                 6.     Public Policy Considerations.
           In addressing the attorneys' fees award in the Dean Settlement, the court observed
that "[p]ublic policy weighs in favor of awarding substantial attorney's fees for incurring
the risks of meritorious litigation that redresses antitrust violations. At this juncture, no
antitrust violations have been found." (Doc. 341 at 18 n.8.) This continues to be true
and, as Intervenor Counsel points out, "redress of antitrust violations remains limited as
compared with the original [C]omplaint." (Doc. 729-1 at 14.) It, however, remains
equally true that the December 20 15 Settlement affords relief that would not have been
obtained without the efforts of Plaintiffs' counsel. See In re Marsh ERISA Litig., 265
F.R.D. 128, 150 (S.D.N.Y. 2010) (concluding that public policy supports the requested
attorneys' fee, and noting that the Department of Labor "took no action against
[d]efendants[,]" and that "[w]ithout the efforts of [p]laintiffs' [c]ounsel, the participants
in [the defendants'] [p ]lan would not have obtained any relief at all").
           In support of the December 20 15 Settlement, the Vermont Attorney General
stated:
          Our office is ... impressed by the extensive injunctive relief that the
          settlement obtains for the class members. The behavioral remedies go
          directly to the conduct alleged in the matter, and will hopefully benefit the
          dairy farmers impacted by this case and help rectify past wrongs. The
          injunctive relief appears to be on par with the sort of relief that our office
          would seek in a matter like this.
(Doc. 832 at 1-2.) Two members ofthe Vermont Senate Chamber praised the positive
political byproducts of the injunctive relief, explaining:
          From the legislative standpoint, we will benefit from access to the key
          documents in the case's extended record. We have considered more than
          once the need to update and modernize our dairy cooperative law. We have
          been hampered in this effort by lack of access to significant data. The

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  The per-farm estimates are based on the prediction that 7,600 farms will assert settlement
claims, that Plaintiffs' counsel will be reimbursed for all of their expenses, and that the incentive
payments will total $155,000.

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       availability of the case's record should fill this void and substantially assist
       with this effort. We would also benefit from a hearing report by the DF A
       producer price advocate as to legal changes, once he or she has had the
       chance to pursue the designated mission.
(Doc. 1510 at 2.) The bi-partisan leadership of the New Hampshire House of
Representatives Environment and Agriculture Committee similarly expressed their
support for the settlement, noting also that the increased access to data will benefit dairy
farmers. These statements of support underscore that the public will benefit from the
December 20 15 Settlement in increased transparency and accountability by key
stakeholders in the market for raw Grade A milk.
       Examining the totality of the circumstances, the court concludes that an attorneys'
fees award of$7 million, or 14% ofthe December 2015 Settlement fund, without accrued
interest, is reasonable.
       B.      Whether to Set Aside a Certain Portion of Attorneys' Fees for Payment
               to Intervenor Counsel.
       Intervenor Counsel requests that the court set aside $500,000 of the attorneys' fees
award to compensate them for "the value they have provided in resolving the prior
procedural infirmity of the case and their leadership in providing the material
enhancement ofthe proposed settlement's substantive relief." (Doc. 729-1 at 25-26.)
They claim that leaving the allocation of the award to the attorneys involved in the case
will inevitably result in a disagreement that will require the court's intervention. Lead
Counsel opposes Intervenor Counsel's request, arguing that Intervenor Counsel has failed
to provide a sufficient reason to warrant a higher award than the rest of the attorneys
involved in this case, and that Plaintiffs' counsel should fully address this matter among
themselves before the court considers whether to designate a certain portion of the
attorneys' fees for Intervenor Counsel. 18


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   Lead Counsel additionally argues that the request for a division of attorneys' fees is a non-
dispositive motion that requires a party to certify that it conferred in good faith with the opposing
party before seeking relief from the court, which Intervenor Counsel failed to do. See D. Vt.
L.R. 7(a)(7) ("A party filing a non-dispositive motion must certify that the party has made a good
faith attempt to obtain the opposing party's agreement to the requested relief."). Other courts


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       An allocation of the attorneys' fees award among the several lawyers representing
Plaintiffs has not yet been proposed, and could not have been proposed prior to the
court's instant award of$7,000,000 in attorneys' fees. A total distribution plan is
necessary before the court can determine whether Intervenor Counsel's request for
$500,000 is reasonable. If Plaintiffs' counsel are unable to achieve a mutually agreeable
resolution, they will have the opportunity to raise that issue with the court. The court
therefore DENIES Intervenor Counsel's motion for $500,000 of the attorneys' fees award
without prejudice.
       C.     Whether to Grant Lead Counsel's Proposal for Reimbursement of
              Expenses and Intervenor Counsel's Proposal for Reimbursement of
              Expenses.
       Lead Counsel seeks reimbursement of their expenses, which amounts to
$3,804,33 7 .68. Intervenor Counsel seeks reimbursement of $6,294.18 in expenses. In
total, Plaintiffs' counsel thus request $3,810,631.86 in unreimbursed expenses. 19
       "In a certified class action, the court may award reasonable ... nontaxable costs
that are authorized by law[.]" Fed. R. Civ. P. 23(h). The Second Circuit has held that
expenses "that are incidental and necessary to the representation" are recoverable,
provided they are reasonable. Reichman v. Bonsignore, Brignati & Mazzotta P.C., 818
F .2d 278, 283 (2d Cir. 1987) (internal quotation marks omitted); see also In re
Fid./Micron Sec. Litig., 167 F.3d 735, 737 (1st Cir. 1999) ("[L]awyers whose efforts
succeed in creating a common fund for the benefit of a class are entitled not only to
reasonable fees, but also to recover from the fund, as a general matter, expenses,
reasonable in amount, that were necessary to bring the action to a climax.").


have found motions for attorneys' fees to be dispositive motions. See Tripoli Rocketry Ass 'n,
Inc. v. Bureau ofAlcohol, Tobacco, Firearms & Explosives, 698 F. Supp. 2d 168, 173 (D.D.C.
201 0) ("The [c]ourt concludes that an EAJA fee petition is a dispositive motion, thereby
rendering [Local Rule 7(m), which requires parties to confer in good faith,] inapplicable.");
Rajaratnam v. Moyer, 47 F.3d 922, 924 (7th Cir. 1995) ("The application for fees cannot be
characterized as nondispositive.") (footnote omitted). This court need not decide the issue
because it agrees that the court's intervention in this dispute would be premature.
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   The December 2015 Settlement permits counsel to seek "reimbursement for reasonable
litigation and administrative expenses." (Doc. 2076-2 at 41.)


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       Counsel for the law firms involved in representing Plaintiffs have submitted
affidavits attesting to their unreimbursed expenses, which are consistent with costs
typically incurred in a class action case ofthis magnitude. See, e.g., In re MetLife
Demutualization Litig., 689 F. Supp. 2d 297, 364 (E.D.N.Y. 2010) (in a class action
common fund case, observing that "expert fees, electronic research charges, ... postage
and delivery expenses, discovery costs, filing fees, photocopying, expenses associated
with locating and interviewing dozens of witnesses, and out-of-town travel expenses" are
the type "that are necessarily incurred in litigation and routinely charged to clients").
Although these expenses are substantial, they were "incidental and necessary" to
providing adequate representation, are not artificially inflated or otherwise in bad faith,
and are therefore reasonable. See Reichman, 818 F .2d at 283 (internal quotation marks
omitted); In re Marsh ERISA Litig., 265 F .R.D. at 150 (granting reimbursement of
expenses that were "largely attributable to ordinary and necessary costs such as court
reporters, expert fees, computer-assisted document organization, travel and copying").
The court therefore GRANTS Lead Counsel's and Intervenor Counsel's requests for the
reimbursement of expenses.
       D.     Whether to Grant Lead Counsel's Proposal for Incentive Payments or
              Intervenor Counsel's Proposal for Incentive Payments.
       Lead Counsel seeks incentive payments amounting to $130,000, which would
award $20,000 to each farm that has been a Subclass Representative since the class was
certified (Allen, Haar, Sitts, and Swantak), and $10,000 to each farm that has been added
as a Subclass Representative during the past year (Aubertine, Fulper, Hunt, Southway,
and Taylor). Intervenor Counsel seeks to increase the incentive payments to $20,000 for
Subclass Representatives Aubertine and Taylor to reward their expertise and assistance in
reaching a settlement.
       "In [the Second] Circuit, the [c]ourts have, with some frequency, held that a
successful [c]lass action plaintiff, may, in addition to his or her allocable share of the
ultimately recovery, apply for and, in the discretion of the [c]ourt, receive an additional
award, termed an incentive award." Roberts v. Texaco, Inc., 979 F. Supp. 185, 200


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(S.D.N.Y. 1997). Incentive awards are "fairly typical in class action cases[,]" are
"discretionary," and are "intended to compensate class representatives for work done on
behalf of the class, to make up for financial or reputational risk undertaken in bringing
the action, and, sometimes, to recognize their willingness to act as a private attorney
general." Rodriguez v. W Publ'g Corp., 563 F.3d 948, 958-59 (9th Cir. 2009); see also
Roberts, 979 F. Supp. at 200 ("The guiding standard in determining an incentive award is
broadly stated as being the existence of special circumstances including the personal risk
(if any) incurred by the plaintiff-applicant in becoming and continuing as a litigant, the
time and effort expended by that plaintiff in assisting in the prosecution of the litigation
or in bringing to bear added value (e.g., factual expertise), any other burdens sustained by
that plaintiff in lending himself or herself to the prosecution of the claim, and, of course,
the ultimate recovery.").
       The four farms that were initially appointed as Subclass Representatives have
maintained significant involvement in this case for approximately six years without any
guarantee that their efforts would result in a successful outcome. They have fulfilled
their responsibilities as Subclass Representatives and have expressed the divergent views
of class members, which contributed to the parties reaching a just settlement. To
compensate these Subclass Representative farms for their efforts, the Allen, Haar, Sitts,
and Swantak farms are awarded incentive payments of $20,000 per dairy farm.Z 0
       Subclass Representatives Aubertine and Taylor invested less time and bore less

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  Subclass Representatives Garrett Sitts, Ralph Sitts, and Richard Swantak opted out ofthe
December 2015 Settlement. Neither the notice provided to class members, nor the December
2015 Settlement limits eligibility for incentive payments to those Subclass Representatives who
participate in the settlement. Cf Tavares v. S-L Distribution Co., 2016 WL 1743268, at *9
(M.D. Pa. May 2, 2016) (awarding incentive payments to "each ofthe two[] class
representatives who have not opted to exclude themselves from the class" where the settlement
agreement provided that incentive payments would be awarded only to participating class
representatives). The Second Circuit has not addressed whether class representatives opting out
of a settlement shall be eligible for incentive payments. In this case, it would be unfair to
deprive the Sitts and Swantak farms of compensation for their considerable efforts as Subclass
Representatives in the years preceding the December 2015 Settlement, which included their
appearance at numerous court hearings and settlement negotiations, and their fulfillment of
discovery obligations.


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risk than that borne by the initial Subclass Representatives. In terms of their investment
in this case, they are more similarly situated to the other Subclass Representative farms
appointed during the past year, which entered the case at a contentious point and
contributed substantially to the settlement negotiation process. Although they invested
less time and bore less risk, they nonetheless deserve a substantial award for their
contributions. It is therefore appropriate for the Aubertine, Fulper, Hunt, Southway, and
Taylor dairy farms to receive an incentive payment of $15,000 each.
       In sum, the court GRANTS IN PART Lead Counsel's proposal for incentive
payments and GRANTS IN PART Intervenor Counsel's request to supplement the
incentive payments for Subclass Representatives Aubertine and Taylor.
                                     CONCLUSION
       For the foregoing reasons, the court:
       1.     AWARDS compensation of Plaintiffs' attorneys' fees in the amount of $7
              million;
       2.     DENIES Intervenor Counsel's request for a division of attorneys' fees;
       3.     AWARDS compensation ofPlaintiffs' counsel's unreimbursed costs and
              expenses in the amount of$3,810,631.86, with $3,804,337.68 designated
              for Lead Counsel and $6,294.18 designated for Intervenor Counsel; and
       4.     AWARDS $155,000 in incentive payments to Subclass Representative
              farms, with the Allen, Haar, Sitts, and Swantak farms receiving $20,000
              per farm, and the Aubertine, Fulper, Hunt, Southway, and Taylor farms
              receiving $15,000 per farm.
SO ORDERED.
       Dated at Burlington, in the District of Vermont, this   /~ay of June, 2016.

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                                          United States District Court




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